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                                                                                          FILED
                                   UNlTED STATES DISTRlCT COURT
                                   EASTERN DlSTRICT OF MISSOURI                        JAN 1 7 2024
                                         EASTERN DIVISION                             U S DISTRICT COURT
                                                                                    EASTERN DISTRICT OF MO
                                                                                           ST. LOUIS
  UNITED STATES OF AMERICA,                       )
                                                  )
                      Plaintiff,                  )
                                                  )
  V.                                              )

  LORENZO GORDON,
                                                  )
                                                  )
                                                       4:24CR022 RWS/SPM
                                                  )
                      Defendant.                  )


                                            INDICTMENT

 The Grand Jury Charges:
                                            BACKGROUND

 At all times relevant to the Indictment:

         I.         The defendant LORENZO GORDON resided within the Eastern District of

 Missouri.

         2.         The United States Small Business Administration ("SBA") is an executive-branch

 agency of the United States government that provides support to entrepreneurs and small

 businesses. The mission of the SBA is to maintain and strengthen the nation's economy by

 enabling the establishment and viability of small businesses and by assisting in economic recovery

 after disasters.

         3.         The Coronavirus Aid, Relief, and Economic Security ("CARES") Act, Pub. L. No.

  116-136, 134 Stat. 281 (2020), is a federal law that was enacted in March 2020 in conjunction with

 a major disaster declaration under Section 501 of the Robert T. Stafford Disaster Relief and
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  Emergency Assistance Act to provide emergency financial assistance to the millions of Americans

  suffering the economic impact caused by the COVID-19 pandemic.

         4.     One source of relief provided for in the CARES Act is the authorization of

  forgivable loans to small businesses for job retention and certain other expenses, through the

  Paycheck Protection Program ("PPP"). The purpose of loans issued under the PPP was to enable

  small businesses suffering from the economic downturn to continue to pay salary or wages to their

 employees.

         5.     To obtain a PPP loan, a qualifying business was required to submit a PPP loan

 application, signed by an authorized representative of the business. The PPP loan application

 required the business to acknowledge the program rules and make certain affirmative certifications

 to obtain the PPP loan. In the PPP loan application (SBA Form 2483), the small business (through

  its authorized representative) was required to certify that the small business was in operation on

 February 15, 2020, as well as the average monthly payroll expenses and/or the total amount of

 gross income and the number of employees. These certifications were used to calculate the amount

 of money the small business was eligible to receive under the PPP. In addition, businesses applying

 for PPP loans were required to submit documentation supporting their payroll expenses.

         6.     A PPP loan application was then processed by a participating lender. If a PPP loan

 application was approved, the participating lender funded the loan using its own monies, which

 were then guaranteed by the SBA.

         7.     PPP loan funds were required to be used on certain permissible expenses, including

 payroll costs, mortgage interest, rent, and utilities for the business. Under the applicable PPP rules

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 and guidance, the interest and principal on the PPP loan was eligible for forgiveness if the business

 spent the loan proceeds on these expense items within a designated period of time and used a

 certain portion of the loan toward payroll expenses.

         8.     Another source of relief provided for in the CARES Act was the Economic Injury

 Disaster Loan Program (EIDL). EIDL further allowed for the SBA to offer funding to business

 owners negatively affected by the COVID-19 pandemic.

         9.     EIDL applications were submitted by business representatives via the SBA online

 portal. Applicants submitted their personal and business information in support of each EIDL

 application, including the size of the affected business, the ownership of the business, number of

 employees for the business, and gross business revenues realized in the 12 months prior to COVID-

  19 impact on the national economy. Applicants were required to submit documentation verifying

 this information.

         I 0.   In addition to EIDL funding, applicants could also request and receive up to

 $10,000.00 in an EIDL Cash Advance Grant, based on the number of employees claimed. That

 grant was not required to be repaid.

         11.    EIDL applications included a paragraph wherein the applicant affirmed that the

 information submitted is true and correct under the penalty of perjury and applicable criminal

 statutes.

         12.    The servers receiving the EIDL applications via the SBA online portal were located

 in Virginia, Iowa, and Washington state.



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                                     COUNTS1THROUGH3
                                   18 U.S.C. § 1343: Wire Fraud

                                  THE SCHEME TO DEFRAUD

           13.    The allegations in Paragraphs 1 through 12 are hereby realleged and incorporated

 herein.

           I 4.   The defendant, LORENZO GORDON, caused to be prepared and submitted to the

  Small Business Administration multiple applications for PPP and EIDL loans for multiple

 businesses, said businesses representing fictional businesses and new businesses.

           15.    The defendant caused the electronic submission of the EIDL applications from the

 Eastern District of Missouri via the SBA portal for EIDL loans.

           I 6.   The PPP and EIDL loan applications submitted by the defendant or caused to be

 submitted by the defendant sought loan and grant funds , the issuance of which was authorized in

 connection with a major disaster declaration under Section 501 of the Robert T. Stafford Disaster

 Relief and Emergency Assistance Act.

           17.    Following the submission of the EIDL applications as described below, the SBA

 issued the EIDL funding, either as an advance or as a loan, which was electronically transmitted

 from the SBA to bank accounts controlled by the defendant.

           I 8.   Following the submission of the PPP application as described below, Prestamos

  issued the PPP loan, which was electronically transmitted from Prestamos to bank accounts

 controlled by the Defendant.




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                                    MANNER AND MEANS

        19.     It was part of the scheme that on or about June 19, 2020, the defendant, LORENZO

 GORDON, caused the submission of an EIDL loan application in the name of Logo Fitness, LLC.

 In the application, the defendant falsely stated that Logo Fitness, LLC had gross revenues of

 $96,475 in the 12 months prior to the COVID pandemic when, in truth and in fact and as the

 defendant well knew, Logo Fitness, LLC was established in 2020 and had not had that amount of

 gross revenues in the 12 months prior to the COVID pandemic. As a result of the false and

 fraudulent representations submitted by the defendant in the Logo Fitness, LLC EIDL application,

 the SBA issued an advance of$9,000 on or about June 23, 2020, and a loan of $39,200 on or about

 June 26, 2020, to a bank account controlled by the defendant.

        20.     It was further part of the scheme that on or about June 22, 2020, the defendant,

 LORENZO GORDON, caused the submission of an EIDL loan application in the name of Elite

 50 Basketball Training, LLC.     In the application, the defendant falsely stated that Elite 50

 Basketball Training, LLC had gross revenues of $234,656 in the 12 months prior to the COVID

 pandemic when, in truth and in fact and as the defendant well knew, Elite 50 Basketball Training,

 LLC was established in 2020 and had not had that amount of gross revenues in the 12 months prior

 to the COVID pandemic. As a result of the false and fraudulent representations submitted by the

 defendant in the Elite 50 Basketball Training, LLC loan application, the SBA issued an advance

 of$10,000 on or about June 23, 2020, and a loan of$107,300 on or about June 29, 2020, to a bank

 account controlled by the defendant.



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        21.     It was further part of the scheme that on or about April 16, 2021, the defendant,

 LORENZO GORDON, caused the submission of a PPP loan application in the name of Lorenzo

 Gordon, janitorial services. In the application, the defendant falsely stated that he was a sole

 proprietor of a janitorial service business since May 2017 when, in truth and in fact and as the

 defendant well knew, the defendant was not a sole proprietor of a janitorial service. As a result of

 the false and fraudulent representations submitted by the defendant in the Lorenzo Gordon,

 janitorial services loan application, Prestamos issued a loan of $20,832 on or about April 29, 2021,

 to a bank account controlled by the defendant.

                                 THE WIRE TRANSMISSIONS

        22.     On or about the dates set forth below, in the Eastern District of Missouri and

 elsewhere, the defendant,

                                      LORENZO GORDON,

 having devised and intended to devise a scheme to obtain money by means of materially false and

 fraudulent pretenses, representations and promises, as specifically described in the paragraphs

 above, for the purpose of executing the scheme described above, and in attempting to do so, caused

 to be transmitted by means of wire communication in interstate commerce the signals and sounds

 described below for each count, each transmission constituting a separate count:

   COUNT        DATE OF SUBMISSION                BUSINESS NAME                WIRE TYPE

   I           6/19/2020                       Logo Fitness, LLC        EIDL Application

  2            6/22/2020                       Elite 50 Basketball      EIDL Application
                                               Training LLC


                                                   6
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  3            4/29/2021                        Lorenzo        Gordon     PPP Application
                                                 Janitorial Services
        All in violation of Title 18, United States Code, Section 1343.


                                           COUNT4
                         18 U.S.C. § 641: Theft of Government Property

        23.     Paragraphs 1 through 22 of this Indictment are realleged and incorporated herein.

        24.     From on or about May 19, 2020, through on or about April 29, 2021, within the

 Eastern District of Missouri, the defendant,

                                      LORENZO GORDON,

 did embezzle, steal, purloin, or knowingly convert to his or her use and the use of another, money

 of the United States or of any department or agency thereof, or any property made or being made

 under contract for the United States or any department or agency thereof, to wit: PPP loans and

 EIDL loans and advances paid by the Small Business Administration in connection with the

 COVID-19 national emergency declaration, in excess of $272,774, creating a total loss to the

 government in excess of $1,000.00.

        In violation of Title 18, United States Code, Section 641.




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                                  FORFEITURE ALLEGATION

        The Grand Jury further finds by probable cause that:

         1.     Pursuant to Title 18, United States Code, Sections 981 (a)(l )(C) and 982(a)(2) and

 Title 28, United States Code, Section 2461(c), upon conviction of an offense in violation of Title

 18, United States Code, Section 1343 as set forth in Counts 1 through 3, the defendant shall forfeit

 to the United States of America any property, real or personal, constituting or derived from

 proceeds traceable to said violation. Subject to forfeiture is a sum of money equal to the total

 value of any property, real or personal, constituting or derived from any proceeds traceable to said

 violation, which is at least $272,774.

        2.      Pursuant to Title 18, United States Code, Sections 981 (a)(l )(C) and Title 28, United

 States Code, Section 2461, upon conviction of an offense in violation of Title 18, United States

 Code, Section 641 as set forth in Count 4, the defendant shall forfeit to the United States of

 America any property, real or personal, which constitutes or is derived from proceeds traceable to

 said violation. Subject to forfeiture is a sum of money equal to the total value of any property, real

 or personal, constituting or derived from any proceeds traceable to said violation.

        3.      If any of the property described above, as a result of any act or omission of the

 defendant:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or

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                e.      has been commingled with other property which cannot be divided

                        without difficulty,

 the United States of America will be entitled to the forfeiture of substitute property pursuant to

 Title 21, United States Code, Section 853(p ).

                                                       A TRUE BILL.



                                                       FOREPERSON


 SAYLER A. FLEMING,
 United States Attorney



 DIANE E.H. KLOCKE, #61670MO
 Special Assistant United States Attorney




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